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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                   CASE NO: 4:23CR3028
      vs.

LATJOR GONY,                                        DETENTION ORDER
                   Defendant.



      The defendant is charged with a drug crime under the Controlled
Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. On the government's motion, the
court afforded the defendant an opportunity for a detention hearing under the Bail
Reform Act, 18 U.S.C. § 3142(f). The court concludes the defendant must be
detained pending trial.

      There is a rebuttable presumption that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance at court
proceedings and the safety of the community because there is probable cause to
believe the defendant committed a drug crime under the Controlled Substances
Act (21 U.S.C. § 801 et seq.), for which the defendant could be required to serve
ten or more years in prison. The defendant has not rebutted this presumption.

      Based on the information of record, the court finds by a preponderance of
the evidence that the defendant's release would pose a risk of nonappearance at
court proceedings, and by clear and convincing evidence that the defendant's
release would pose a risk of harm to the public.

      Specifically, the court finds that the defendant has a criminal history of
violating the law and court orders; violated conditions of release previously
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imposed by a court; lacks a stable residence; has limited employment contacts;
is currently serving a sentence in state custody and waives his rights under the
anti-shuttling provisions of the IADA; and presented no evidence opposing the
presumption of detention.

      The court currently knows of no conditions or any combination of
conditions which will sufficiently ameliorate the risks posed if the defendant is
released.

                         Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United
States Court or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to the United States
marshal for a court appearance.

      Dated March 9, 2023.

                                            BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
